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                           UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

In Re:                                                   CHAPTER 13

FODAY VEER SINGHATEH                                     CASE NO. 17-60113-JRS
aka Foday V. Singhateh,
                        Debtor.


NATIONSTAR MORTGAGE LLC

                                                         CONTESTED MATTER
                                 Movant,

V.

FODAY VEER SINGHATEH, Debtor, and
Nancy J. Whaley, Chapter 13 Trustee,

                                 Respondents.


                             NOTICE OF ASSIGNMENT OF HEARING

         PLEASE TAKE NOTICE that Nationstar Mortgage LLC, has filed a Motion for Relief from

Stay and related papers with the Court seeking an order granting relief from the automatic stay.

         PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion for

Relief from Stay in United States Bankruptcy Courthouse, Richard B. Russell Federal Building, 75

Ted Turner Drive, SW, Atlanta, GA 30303, Courtroom 1404 at 10:30 A.M. on November 21, 2017.

Your rights may be affected by the Court's ruling on these pleadings. You should read these papers

carefully and discuss them with your attorney, if you have one in this bankruptcy case (if you do not have

an attorney, you may wish to consult one). If you do not want the Court to grant the relief sought in these

pleadings, or if you want the Court to consider your views, then you and/or your attorney must attend the

hearing. You may file a written response to the pleading with the Clerk at the address stated below, but

you are not required to do so. If you file a written response, you must attach a certificate stating when,
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how and on whom (including addresses) you served the response. Mail or deliver your response so that it

is received by the Clerk at least two business days before the hearing. The address for the Clerk's Office

is: U.S. Bankruptcy Court, Richard B. Russell Federal Building, 75 Ted Turner Drive, SW, Room 1340,

Atlanta GA 30303. You must also mail a copy of your response to the undersigned at the address stated

below.

         In the event a hearing cannot be held within thirty (30) days from the filing of said Motion, as

required by 11 U.S.C. Section 362, Movant, by and through counsel, waives this requirement and agrees

to the next earliest possible date, as evidenced by the signature below. If a final decision is not rendered

by the Court within sixty (60) days of the date of the request, Movant waives the requirement that a final

decision be issued within that period.

         The undersigned consents to the automatic stay remaining in effect with respect to Movant until

the court orders otherwise.


Dated: October 27, 2017

                                                          Shapiro Pendergast & Hasty, LLP


                                                          /s/ Elizabeth Childers
                                                          ___________________________
                                                          Elizabeth Childers
                                                          Georgia Bar No. 143546
                                                          211 Perimeter Center Parkway, N.E.
                                                          Suite 300
                                                          Atlanta, GA 30346
                                                          Phone: (770) 220-2535
                                                          echilders@logs.com
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                          UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

In Re:                                                CHAPTER 13

FODAY VEER SINGHATEH                                  CASE NO. 17-60113-JRS
aka Foday V. Singhateh,
                        Debtor.


NATIONSTAR MORTGAGE LLC

                                                      CONTESTED MATTER
                               Movant,

V.

FODAY VEER SINGHATEH, Debtor, and
Nancy J. Whaley, Chapter 13 Trustee,

                               Respondents.


                            MOTION FOR RELIEF FROM STAY

         COMES NOW Nationstar Mortgage LLC, its successors or assigns, ("Movant"), by and

through its undersigned counsel, and alleges as follows:

                                                 1.

         The Court has jurisdiction over this matter pursuant to 11 U.S.C. § 362(d) FRBP 4001(a),

and the various other applicable provisions of the United States of America.

                                                 2.

         Foday Veer Sinhateh (hereinafter "Debtor") filed this proceeding under Chapter 13 of the

Bankruptcy Code on June 7, 2017, and remains in possession of the subject property under a plan

of arrangement confirmed by this Court.
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                                               3.

        Movant is the holder or servicer of a loan secured by certain real property now or

formerly known as 4466 Pipemaker Bluff, Douglasville, GA 30135, in Douglas County, GA.

Copies of the Security Deed and Assignments are attached hereto as Exhibit “A”. A copy of the

Note is attached hereto as Exhibit "B". Nationstar Mortgage LLC directly or through an agent,

has possession of the promissory note and held the note at the time of filing of the Movant’s

Motion for Relief from Stay.      The promissory note has been duly endorsed. Attached are

redacted copies of any documents that support the claim, such as promissory notes, purchase

order, invoices, itemized statements of running accounts, contracts, judgments, mortgages, and

security agreements in support of right to seek a lift of the automatic stay and foreclose if

necessary.

                                               4.

         Movant alleges that the Debtor is in default to Movant under the terms of the loan

documents, having failed to make certain post-petition mortgage payments that have come due.

As of October 19, 2017, the estimated post-petition deficiency is $3,327.36 and consists of the

September 1, 2017 through October 1, 2017 payments at $1,188.09 each, less the suspense

balance in the amount of $79.82, plus attorney’s fees and costs of $1,031.00. An additional

payment will come due November 1, 2017 and on the 1st day of each month thereafter until the

loan is paid in full.

                                               5.

        As of October 19, 2017, current unpaid principal balance due under the loan document is

$174,660.61. According to the Douglas County Tax Assessor’s office the property is currently

valued at $177,200.00.
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                                                  6.

       Based upon the foregoing facts, there is a lack of adequate protection in the subject

property. Movant shows that good cause exists to grant relief from the automatic stay of 11

U.S.C. § 362.

                                                  7.

       Movant has incurred attorney’s fees and cost as a result of filing this motion. These fees

and cost are recoverable pursuant to the loan documents, and Movant seeks leave to recover

these fees and costs under the remedies available therein.

                                                  8.

       Movant requests that upon entry of an Order granting relief from the automatic stay of

Section 362 said Order also instruct the Chapter 13 Trustee to cease disbursements on Movant’s

Proof of Claim.

       WHEREFORE, Movant respectfully requests:

                a) That the automatic stay under 11 U.S.C. § 362 be modified to allow Movant to

                   pursue state remedies to protect its security interest in the Property, including,

                   but not limited to, effectuating a foreclosure sale and gaining possession of the

                   Property; to contact the Debtor via telephone or written correspondence to

                   discuss potential loan workout or loss mitigation opportunities; and to perform

                   property preservation as appropriate;

                b) That Movant's attorney's fees and costs incurred in filing and prosecuting this

                   Motion be recoverable as pursuant to the loan documents and remedies

                   available therein;

                c) That the fourteen (14) day stay of Bankruptcy Rule 4001(a)(3) be waived;
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             d) That Movant be permitted to offer and provide Debtor with information

                regarding a potential forbearance agreement, loan modification, refinance

                agreement, or other loan workout/loss mitigation agreement, and to enter into

                such an agreement with Debtor;

             e) Movant prays, that in the event of an Order granting relief from the automatic

                stay of Section 362 said Order also instruct the Chapter 13 Trustee to cease

                disbursements on Movant’s Proof of Claim.

             f) For such other and further relief the Court deems just and proper.


Dated: October 27, 2017
                                                  Shapiro Pendergast & Hasty, LLP


                                                   /s/ Elizabeth Childers
                                                  ___________________________
                                                  Elizabeth Childers
                                                  Georgia Bar No. 143546
                                                  211 Perimeter Center Parkway, N.E.
                                                  Suite 300
                                                  Atlanta, GA 30346
                                                  Phone: 770-220-2535
                                                  echilders@logs.com
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                                 CERTIFICATE OF SERVICE

       I certify that I am over the age of 18 and that on October 27, 2017, a copy of the foregoing

Notice of Assignment of Hearing was served, together with a copy of the Motion for Relief from

Stay by electronic mail or first class U.S. Mail, with adequate postage prepaid, on the following

persons or entities at the addresses stated below:

Foday Veer Singhateh
4466 Pipemaker Bluff
Douglasville, GA 30135

E. L. Clark
Clark & Washington, LLC
Bldg. 3
3300 Northeast Expwy.
Atlanta, GA 30341

Nancy J. Whaley
Standing Chapter 13 Trustee
303 Peachtree Center Avenue
Suite 120, Suntrust Garden Plaza
Atlanta, GA 30303


Dated October 27, 2017                               Shapiro Pendergast & Hasty, LLP


                                                     /s/ Elizabeth Childers
                                                     ___________________________
                                                     Elizabeth Childers
                                                     Georgia Bar No. 143546
                                                     211 Perimeter Center Parkway, N.E.
                                                     Suite 300
                                                     Atlanta, GA 30346
                                                     Phone: 770-220-2535
                                                      echilders@logs.com
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  Lookup Property Taxes




      Recent Sales in
                               Previous        Next            Field          Return to Main Search           Subscription       Douglas
       Neighborhood
                                Parcel        Parcel        Definitions               Page                       Home             Home
    Recent Sales in Area

                                          Owner and Parcel Information
 Owner Name                     SINGHATEH, F0DAY VEER                          Today's Date               October 20, 2017
 Mailing Address                4466 PIPEMAKER BLUFF                           Parcel Number              00990150172
                                 DOUGLASVILLE, GA 30135                        Tax District               COUNTY (District 01)
 Location Address               4466 PIPEMAKER BLF                             2013 Millage Rate          34.0500
                                HSE/LOT #73, THE RETREAT @
 Legal Description                                                             Acres                      0
                                ANNEWAKEE PH 2
 Property Class(NOTE: Not                                                                                  RETREAT@ANNEEWAKEE
                                R3-Residential                                 Neighborhood
 Zoning Info)                                                                                             TRAILS2220
                                                                               Homestead
 Zoning                         PUD                                                                       No (S0)
                                                                               Exemption
                                                                               Parcel Map                 Maps available with subscription



                                       2017 Tax Year Value Information
           Land                Improvement                     Accessory                        Total                     Previous
           Value                  Value                          Value                          Value                      Value
          $ 26,400               $ 147,500                       $ 3,300                     $ 177,200                    $ 159,400



                     More detailed information is available via subscription service. Details here

 The Assessor's Office makes every effort to produce the most accurate information possible. No warranties, expressed or
 implied, are provided for the data herein, its use or interpretation. The assessment information is from the last certified
 tax roll. All data is subject to change before the next certified tax roll. Website Updated: August 18, 2017
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http://qpublic7.qpublic.net/ga_display.php?county=ga_douglas&KEY=00990150172                                                     10/20/2017
